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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

  United States of America,                           Case No. 2:23‐cv‐475

           Plaintiff,                                 Complaint for Permanent
                                                      Injunction, Monetary Relief,
           v.                                         Civil Penalties, and Other
                                                      Relief
  Michael J. Connors,

  ProTouch Marketing, LLC, a limited
  liability company, also d/b/a Smart Day
  Supplements,

  Woodford Hills, LLC, a limited liability
  company,

  Oakhill Research, LLC, a limited liability
  company,

  Evergreen Marketing, LLC, a limited
  liability company,

  Sterling Health, LLC, a limited liability
  company, and

  Clara Vista Media, LLC, a limited liability
  company,

           Defendants.



      Plaintiff, the United States of America, acting upon notification and
authorization to the Attorney General by the Federal Trade Commission (“FTC”
or “Commission”), for its Complaint alleges that:

      1.        Plaintiff brings this action under Sections 5(a)(1), 5(m)(1)(A), 12,
13(b), 16(a), and 19 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.
§§ 45(a)(1), 45(m)(1)(A), 52, 53(b), 56(a), and 57b; and Section 8023 of the Opioid
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Addiction Recovery Fraud Prevention Act of 2018 (“OARFPA”), 15 U.S.C. § 45d;
which authorize Plaintiff to seek, and the Court to order, permanent injunctive

relief, monetary relief, civil penalties, and other relief for Defendants’ violations
of Sections 5 and 12 of the FTC Act and Section 8023 of OARFPA.
                               SUMMARY OF THE CASE
      2.       Defendant Michael Connors (“Connors”) has deceptively advertised
and sold Smoke Away products as an effective way to quit smoking, using a
network of interrelated companies that he owns or controls, including

Defendants ProTouch Marketing, LLC; Woodford Hills, LLC; Oakhill Research,
LLC; Evergreen Marketing, LLC; Sterling Health, LLC; and Clara Vista Media,
LLC (collectively, “Corporate Defendants”). Defendants’ advertising has relied

on false or unsubstantiated claims, including claims that Smoke Away products
eliminate nicotine cravings and withdrawal symptoms and enable consumers to
quit smoking easily and quickly.

      3.       Defendants have violated both the Federal Trade Commission Act
and OARFPA, which was enacted in 2018. OARFPA prohibits unfair or deceptive
acts or practices with respect to any substance use disorder treatment product or

substance use disorder treatment service. Because tobacco‐related disorders are
substance use disorders, OARFPA’s prohibition applies to Defendants’
advertising.
      4.       This is not the first time the FTC has challenged Connors’
advertising of Smoke Away. In 2005, the Commission entered into a settlement
agreement with Connors and one of his then‐existing companies to settle

allegations concerning the advertising of Smoke Away. Connors agreed, among


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other things, not to make claims about “the absolute or comparative benefits,
performance, efficacy, safety, or side effects” of any smoking cessation product

or program—including claims that any such product or program enables
smokers to quit in 7 days or less; enables smokers to quit quickly, effortlessly,
and permanently; or eliminates nicotine cravings—without competent and
reliable scientific evidence substantiating those claims. See Stipulated Final Order
for Permanent Injunction and Settlement of Claims for Monetary Relief as to
Defendants Emerson Direct, Inc. d/b/a Council on Natural Health and Michael J.
Connors at 4–5, F.T.C. v. Emerson Direct, Inc., No. 2:05‐cv‐377‐VMC (M.D. Fla.
Aug. 10, 2005).
                              JURISDICTION AND VENUE
       5.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
§§ 1331, 1337(a), and 1345.
       6.     Venue is proper in this District under 15 U.S.C. § 53(b) and 28 U.S.C.
§§ 1391(b)(1), (b)(2), (b)(3), (c)(1), (c)(2), (c)(3), and (d), and 1395(a).
                                        PLAINTIFF
       7.     The United States of America brings this action on behalf of the FTC.

       8.     The FTC is an independent agency of the United States Government
created by the FTC Act. 15 U.S.C. §§ 41–58. The FTC enforces Section 5(a) of the
FTC Act, 15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in
or affecting commerce, and Section 12 of the FTC Act, 15 U.S.C. § 52, which
prohibits false advertisements for food, drugs, devices, services, or cosmetics in
or affecting commerce. The FTC also enforces OARFPA, 15 U.S.C. § 45d, which

prohibits unfair or deceptive acts or practices with respect to any substance use


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disorder treatment service or substance use disorder treatment product.
                                   DEFENDANTS
      9.     Defendant Michael J. Connors is the sole member of Defendants
ProTouch Marketing, LLC; Woodford Hills, LLC; Evergreen Marketing, LLC;
and Clara Vista Media, LLC. Moreover, each Corporate Defendant was either

established by Connors or at his direction. At all times relevant to this Complaint,
acting alone or in concert with others, Connors has formulated, directed,
controlled, had the authority to control, or participated in the acts and practices

of each Corporate Defendant, including the acts and practices set forth in this
Complaint. At all times relevant to this Complaint, acting alone or in concert with
others, Connors has advertised and sold Smoke Away to consumers throughout
the United States. Connors has authority to review and approve all Smoke Away
advertising, and he informs all employees and contractors involved in the
creation and dissemination of Smoke Away advertising that he must review and

approve all such advertising before it is disseminated. In connection with the
matters alleged herein, Defendant Connors transacts or has transacted business
in this District and throughout the United States.
      10.    Defendant ProTouch Marketing, LLC, also doing business as Smart
Day Supplements, is a Florida limited liability company formed in 2010 with its
principal place of business at 6314 Trail Boulevard, Naples, Florida, 34108.
ProTouch Marketing transacts or has transacted business in this District and
throughout the United States. At all times material to this Complaint, acting
alone or in concert with others, ProTouch Marketing has advertised and sold

Smoke Away to consumers throughout the United States. At all times material to


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this Complaint, ProTouch Markeing has managed Smoke Away advertising for
all of the other Corporate Defendants, and it is the only Corporate Defendant

with any employees.
      11.   Defendant Woodford Hills, LLC, is a Delaware limited liability
company formed in 2009 with its principal place of business at 6314 Trail
Boulevard, Naples, Florida, 34108. Woodford Hills transacts or has transacted
business in this District and throughout the United States. At all times material to
this Complaint, acting alone or in concert with others, Woodford Hills has

advertised and sold Smoke Away to consumers throughout the United States.
      12.   Defendant Oakhill Research, LLC, is a Delaware limited liability
company formed in 2018 with its principal place of business at 15050 Elderberry

Lane, Suite 6V‐21, Fort Myers, Florida, 33907. Oakhill Research transacts or has
transacted business in this District and throughout the United States. At all times
material to this Complaint, acting alone or in concert with others, Oakhill
Research has advertised and sold Smoke Away to consumers throughout the
United States.
      13.   Defendant Evergreen Marketing, LLC, is a Wyoming limited liability

company formed in 2013 with its principal place of business at 257 Kirtland
Avenue, Naples, Florida, 34110. Evergreen Marketing transacts or has transacted
business in this District and throughout the United States. At all times material to
this Complaint, acting alone or in concert with others, Evergreen Marketing has
advertised and sold Smoke Away to consumers throughout the United States.
      14.   Defendant Sterling Health, LLC, was a Florida limited liability
company formed in 2013 with its principal place of business at 257 Kirtland


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Avenue, Naples, Florida, 34110. Sterling Health transacted business in this
District and throughout the United States. Acting alone or in concert with others,

Sterling Health advertised and sold Smoke Away to consumers throughout the
United States.
      15.    Defendant Clara Vista Media, LLC, is a Wyoming limited liability
company formed in 2013 with its principal place of business at 6314 Trail
Boulevard, Naples, Florida, 34108. Clara Vista Media transacts or has transacted
business in this District and throughout the United States. At all times material to

this Complaint, acting alone or in concert with others, Clara Vista Media has
advertised and sold Smoke Away to consumers throughout the United States.
                              COMMON ENTERPRISE
      16.    Corporate Defendants have operated as a common enterprise while
engaging in the deceptive and unlawful acts and practices and other violations of
law alleged below. Corporate Defendants have conducted the business practices
described below through an interrelated network of companies that have
common ownership, officers, managers, business functions, employees, and
office locations. Because these Corporate Defendants have operated as a common

enterprise, each of them is liable for the acts and practices alleged below.
                                    COMMERCE
      17.    At all times relevant to this Complaint, Defendants have maintained

a substantial course of trade in or affecting commerce, as “commerce” is defined
in Section 4 of the FTC Act, 15 U.S.C. § 44.




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                      DEFENDANTS’ BUSINESS ACTIVITIES
      18.   Defendants have advertised, marketed, promoted, offered for sale,
sold, and distributed products under the Smoke Away brand. These products
include: (1) Smoke Away Formula 1 tablets, which contain Vitamin C, iron,
iodine, sodium, and a mix of botanicals that includes alfalfa root and licorice
root; (2) Smoke Away Maintenance tablets, which contain cape aloe, white oak,
and other botanicals; (3) Spray Away by Smoke Away homeopathic spray;
(4) Smoke Away Homeopathic Pellets; and (5) various combinations thereof,

styled as “kits” (collectively, “Smoke Away”). For example, the “Basic Kit”
includes Formula 1 and Maintenance and has sold for $68.85 on Amazon; the
“Basic Kit Plus” adds the Homeopathic Pellets and has sold for $78.90.

      19.   Defendants have advertised, marketed, promoted, offered for sale,
sold, and distributed Smoke Away to consumers by means of various online
channels, including websites that they own or control; retail websites, like

Amazon, Walmart, and eBay; online advertising networks, like Google Search
Ads and Google Display Ads; and social media platforms, like Facebook and
YouTube. Defendants also have advertised, marketed, and promoted Smoke
Away on the radio and through the use of text messages. Defendants also have
advertised, marketed, and promoted Smoke Away by means of recorded
testimonials that feature paid actors rather than bona fide Smoke Away users.
      20.   The core message of Defendants’ advertising is that Smoke Away
products are effective smoking cessation products that eliminate nicotine
cravings and withdrawal symptoms and enable smokers to quit smoking easily

and quickly, including within seven days.


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                       Defendants’ Internet Advertising
      21.   Defendants have advertised Smoke Away on the Internet through

several means, including (1) websites that they own or control, such as:
www.SmokeAway.com; www.SmokeAway.net; www.TrySmokeAway.com;
www.SmokeAwayNow.com; www.GetSmokeAwayNow.com;
www.GetSmokeAwayToday.com; www.SmokingStatsNow.com;
www.QuitInfo.org; and www.DigestOfHealthyLiving.com; (2) online retail
websites, such as Amazon, Walmart, and eBay; (3) online advertising networks,
such as Google Search Ads and Google Display Ads; and (4) social media, such
as Facebook and YouTube. These materials contain the following statements and
depictions, among others:
            a)     Amazon (January 26, 2021), Exhibit 1 at 2, 17–20.




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           b)     Amazon (April 5, 2022), Exhibit 2 at 29.




           c)     Amazon (April 5, 2022), Exhibit 2 at 3.




           [Transcript of video embedded in Amazon page:] Attention
           all smokers. If you’re serious about kicking the habit, if you
           want to quickly and safely tackle your cravings for cigarettes,
           here is great news from the makers of Smoke Away. For less

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           than the cost of gum, patches, or prescriptions that often don’t
           work, we’ll rush to you the all‐natural Smoke Away system
           that’s sweeping the country. And we guarantee: if you’re not
           completely satisfied and amazed with Smoke Away, it won’t
           cost you a dime. Don’t be a slave to cigarettes anymore. Quit
           Smoking for good. The safe way. The natural way. With the
           help of Smoke Away.


           d)     Walmart (May 12, 2022), Exhibit 4 at 2.




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           e)    SmokeAway.com (February 9, 2022), Exhibit 5 at 7–9.




           How & Why Smoke Away Works
           The All Natural Smoke Away stop smoking support system
           was designed to help your body deal with withdrawal
           systems as you go through the process of quitting as well as
           to help remove the chemicals and toxins that have built up in
           your body while you were a smoker. . . .




           Fight withdrawal symptoms naturally. The all‐natural herbs
           in Smoke Away Formula 1 work independently and
           synergistically to help you stay calm and comfortable in spite
           of the nasty withdrawal symptoms your body throws at you.




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           Spray Away provides the convenience of a spray and the
           strength of the homeopathic medicine to help combat urges
           that arise. Whenever you feel one come on, simply spray 2 or
           3 times under your tongue and the fast acting formula goes to
           work immediately.




           If you need temporary relief, and chances are you will, simply
           place three tablets of Smoke Away® Homeopathic Medicine
           under your tongue as soon as you need them.




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           f)     SmokeAway.com (February 9, 2022), Exhibit 5 at 12.




           [Transcript of embedded video:] I’m Deborah from Conway,
           South Carolina. I just want to say I am so grateful for Smoke
           Away. It saved my life; it saved my friendships; it saved my
           wallet. I have had over the last few years friends who have
           complained about the smoke smell in their clothing, and
           burning in their eyes. And I’ve become a bit of a pariah. And
           I decided when I saw it on the Internet, it looked very easy, it
           was guaranteed, and I thought what did I have to lose? So, I
           am ecstatic with the results of Smoke Away. I, after a few
           days, did not even look for cigarettes or crave them. It’s been
           a month now, and since I’ve stopped smoking, my friends say
           my energy level is incredible. I look like a different person.
           They don’t recognize me. I act like a different person. And I
           just want to say that I would recommend Smoke Away to
           anyone that wants to quit smoking. Not just try, but quit
           smoking. And Smoke Away, just thank you—thank you again
           for saving my life.

           g)     SmokeAway.com (February 9, 2022), Exhibit 5 at 20.




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           [Transcript of embedded video:] I’m Andrew. I’m from New
           York. I smoked for thirty years. It’s gotten so expensive. I
           wasn’t feeling good. I was losing friends—nobody liked me.
           Until I found Smoke Away. Now I tried everything—the
           patch, the gum. You name it, I tried it. And nothing worked
           until I found Smoke Away. Now I have more friends. I smell
           good. Food tastes better. I feel much healthier. I’m jogging;
           I’m riding my bike; I’m playing golf. I recommend Smoke
           Away to anybody. Smoke Away is a great product.

           h)    TrySmokeAway.com (February 9, 2022), Exhibit 8 at 1, 18,
                 36–37.




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           Formula 1
           Quitting is a battle. This army of 20+ herbs works to help you
           fight the nasty symptoms of withdrawal. . . .


           Homeopathic Pellets
           Suddenly you’re craving. It happens. Cravings are
           unexpected, so fighting them with long‐term solutions is only
           so effective. In those moments, our specially formulated
           Homeopathic Pellets are there to help you manage those
           cravings.

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           i)    SmokeAway.net (September 29, 2021), Exhibit 9 at 4–6.




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            j)      QuitInfo.org (April 21, 2021), Exhibit 10 at 2.




            [T]here’s a ‘quiet solution’ that’s been helping millions of
            smokers quit … for the last 20 years.

            It’s called Smoke Away and it’s an all‐natural program that
            can help you quit smoking … for good… in the next 7 days.
            [ellipses in original]


                 Defendants’ Radio and Text Message Advertising
      22.   Defendants also have advertised Smoke Away on the radio. These
advertisements contain the following statements, among others:

            Attention all smokers. If you want a stress‐free way to stop
            smoking all you have to do is send one quick text. That’s right,
            just text SMOKE to 323232 right now and finally become
            smoke free with Smoke Away, the quit smoking program that
            guarantees you quit or you don’t pay a penny. For over
            twenty years, Smoke Away has been the all‐natural, nicotine‐
            free solution helping people kick the habit quickly and safely,
            and without all those gums, patches, or prescriptions.

            [Male Testimonial:] I’ve been smoking for like 30 years and
            tried various different ways to quit smoking which I couldn’t
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            do. I tried Smoke Away and in one week I quit smoking.

            [Female Testimonial:] I tried quitting many, many times—
            tried everything on the market. And since the first day that I
            used Smoke Away, I have not wanted a cigarette at all.

            Don’t let cigarettes run your life. Take control today with
            Smoke Away. Text SMOKE to 323232 and finally be smoke
            free. Text the word SMOKE to 323232 right now. Text SMOKE
            to 323232. That’s SMOKE to 323232.


      23.   Defendants’ radio advertisements encouraged consumers to inquire
about Smoke Away by sending a text message to Defendants. Defendants
responded to these text messages from consumers with the following messages,

among others:

            Text 1: Stop smoking with Smoke Away. To try it RISK FREE,
            just click the link below.

            Text 2: Don’t let cigarettes run your life. Take control today
            with Smoke Away. Just click the link below.

            Text 3: Finally kick the habit quickly and safely, and without
            all those gums, patches, or prescriptions. To try Smoke Away
            RISK FREE, just click the link below.


      Defendants Use Deceptive Testimonials to Advertise Smoke Away

      24.   Defendants have used video testimonials of individuals touting
success in quitting smoking using Smoke Away. These videos, disseminated on
YouTube and other websites, represent that the individuals depicted were bona

fide Smoke Away users.
      25.   In truth, at least some of the individuals giving testimonials were
not bona fide Smoke Away users but rather actors that Defendants recruited.
Defendants provided the actors with a rough outline of what to say and

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encouraged them to take artistic license in preparing the testimonials so that they
would seem “authentic.”

                      Defendants Market Smoke Away as a
                   Substance Use Disorder Treatment Product
      26.    The Diagnostic and Statistical Manual of Mental Disorders, Fifth
Edition, (“DSM‐5”) identifies tobacco‐related disorders as a class of substance‐
related disorders. According to the DSM‐5, “tobacco use disorder” is “a
problematic pattern of tobacco use leading to clinically significant impairment or

distress, as manifested by at least two of [eleven identified criteria], occurring
within a 12‐month period.” Those criteria include: smoking more tobacco, or
over a longer period, than intended; a persistent desire or unsuccessful efforts to
cut down or control tobacco use; craving, or a strong desire or urge to use,
tobacco; tobacco withdrawal; and continued tobacco use despite having
persistent or recurrent social or interpersonal problems caused or exacerbated by

the effects of tobacco (e.g., arguments with others about tobacco use).
      27.    Defendants have marketed Smoke Away as a tobacco use disorder
treatment product. Smoke Away advertising has included repeated references to
a smoker’s “habit” or addiction; urges or cravings; withdrawal symptoms;
unsuccessful efforts to quit smoking, including the overwhelming percentage of
smokers who fail to quit smoking; the desire to quit smoking; the social stigma
associated with, or the interpersonal problems caused by, smoking; and the
myriad benefits that will result from quitting smoking.
      28.    Based on the facts and violations of law alleged in this Complaint,

the FTC has reason to believe that Defendants are violating or are about to


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violate laws enforced by the Commission because, among other things:
Defendants engaged in their unlawful conduct repeatedly over many years;

Defendants continued their unlawful conduct for over a year after learning that
the FTC was investigating them; and Defendants ceased their unlawful activities
only recently, months after they received a Civil Investigative Demand from the
FTC, and only after FTC staff warned Defendants that each day they continued
their unlawful conduct constituted a separate violation for which the FTC would
seek civil penalties.
                          VIOLATIONS OF THE FTC ACT
      29.    Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
deceptive acts or practices in or affecting commerce.”

      30.    Misrepresentations or deceptive omissions of material fact constitute
deceptive acts or practices prohibited by Section 5(a) of the FTC Act.
      31.    Section 12 of the FTC Act, 15 U.S.C. § 52, prohibits the dissemination
of any false advertisement in or affecting commerce for the purpose of inducing,
or which is likely to induce, the purchase of food, drugs, devices, services, or
cosmetics. For purposes of Section 12 of the FTC Act, Smoke Away is a “drug” as

defined in Section 15(c) of the FTC Act, 15 U.S.C. § 55(c).
                  Count I: Deceptive Smoking Cessation Claims
      32.    In numerous instances in connection with the advertising,
marketing, promotion, offering for sale, or sale of Smoke Away, including
through the means described in Paragraphs 21–24, Defendants have represented,
directly or indirectly, expressly or by implication, that:




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                a)    Smoke Away products are effective smoking cessation
                      products;

                b)    Smoke Away eliminates nicotine cravings and withdrawal
                      symptoms;
                c)    Smoke Away enables cigarette smokers to quit quickly,
                      including within seven days;
                d)    Smoke Away enables cigarette smokers to quit easily;
                e)    Smoke Away enables cigarette smokers to quit permanently;
                f)    Spray Away by Smoke Away provides instant relief from
                      nicotine cravings; and
                g)    Smoke Away Homeopathic Pellets provide instant relief from
                      nicotine cravings.
      33.       The representations set forth in Paragraph 32 are false or misleading
or were not substantiated at the time the representations were made.
      34.       Therefore, the making of the representations as set forth in
Paragraph 32 constitutes a deceptive act or practice and the making of false
advertisements in violation of Sections 5(a) and 12 of the FTC Act, 15 U.S.C.
§§ 45(a), 52.
                           Count II: Deceptive Testimonials
      35.       In numerous instances in connection with the advertising,
marketing, promotion, offering for sale, or sale of Smoke Away, including
through the means described in Paragraphs 21, 24–25, Defendants have
represented, directly or indirectly, expressly or by implication, that the persons

depicted in the video testimonials that appear on Defendants’ websites and on


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YouTube—including the persons identified as Julia, Deborah, and Andrew—are
bona fide Smoke Away users who have successfully used Smoke Away to quit

smoking.
      36.       In truth and in fact, at least some of the persons who appear in these
videos—including the persons identified as Julia, Deborah, and Andrew—are
actors whom Defendants recruited and paid for their on‐screen appearances, and
who did not use Smoke Away to quit smoking as represented in the videos.
      37.       Therefore, the making of the representations as set forth in

Paragraph 35 constitutes a deceptive act or practice and the making of false
advertisements in violation of Sections 5(a) and 12 of the FTC Act, 15 U.S.C.
§§ 45(a), 52.
                 VIOLATIONS OF THE OPIOID ADDICTION RECOVERY
                           FRAUD PREVENTION ACT OF 2018
      38.       The Opioid Addiction Recovery Fraud Prevention Act of 2018

(“OARFPA”), Pub. L. No. 115‐271, 132 Stat. 4082 (codified at 15 U.S.C § 45d), was
enacted on October 24, 2018. OARFPA prohibits unfair or deceptive acts or
practices with respect to any substance use disorder treatment service or

substance use disorder treatment product. 15 U.S.C. § 45d(a). Section 8022 of
OARFPA defines “substance use disorder treatment product” to mean “a
product for use or marketed for use in the treatment, cure, or prevention of a
substance use disorder, including an opioid use disorder.” Pub. L. No. 115‐271
§ 8022, 132 Stat. 4082.
      39.       As described in Paragraphs 26–27, Defendants have marketed
Smoke Away as a substance use disorder treatment product.


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      40.    OARFPA provides that a violation of 15 U.S.C. § 45d(a) shall be
treated as a violation of a rule under Section 18(a) of the FTC Act, 15 U.S.C.

§ 57a(a), regarding unfair or deceptive acts or practices. 15 U.S.C. § 45d(b)(1).
      41.    Section 19(b) of the FTC Act, 15 U.S.C. § 57b(b), and Section 8023(b)
of OARFPA, 15 U.S.C. § 45d(b), authorize this Court to grant such relief as the

Court finds necessary to redress injury to consumers resulting from Defendants’
violations of OARFPA.
      42.    Defendants have been making deceptive substance use disorder
treatment claims since at least October 24, 2018, when OARFPA was enacted, and
continued to do so, even after OARFPA’s passage. In addition, on May 5, 2021,
Commission staff specifically notified Defendants, through counsel, that Smoke
Away products are substance use disorder treatment products as defined by
OARFPA, and that any deception in the marketing of the Smoke Away products
could render Defendants liable for civil penalties under OARFPA.
      43.    Defendants violated OARFPA, as described below, with the
knowledge required by Section 5(m)(1)(A) of the FTC Act, 15 U.S.C.
§ 45(m)(1)(A).
      44.    Each dissemination of an advertisement in which Defendants
violated OARFPA by making one or more of the deceptive representations
described below after October 24, 2018, constitutes a separate violation for which
Plaintiff seeks monetary civil penalties.
      45.    Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A), authorizes
this Court to award monetary civil penalties for each violation of OARFPA.




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       Count III: Deceptive Smoking Cessation Claims With Respect to a
                  Substance Use Disorder Treatment Product

      46.    In numerous instances in connection with the advertising,
marketing, promotion, offering for sale, or sale of Smoke Away, including
through the means described in Paragraphs 21–24, Defendants have represented,
directly or indirectly, expressly or by implication, that:
             a)       Smoke Away products are effective smoking cessation
                      products;

             b)       Smoke Away eliminates nicotine cravings and withdrawal
                      symptoms;
             c)       Smoke Away enables cigarette smokers to quit quickly,

                      including within seven days;
             d)       Smoke Away enables cigarette smokers to quit easily;
             e)       Smoke Away enables cigarette smokers to quit permanently;
             f)       Spray Away by Smoke Away provides instant relief from
                      nicotine cravings; and
             g)       Smoke Away Homeopathic Pellets provide instant relief from

                      nicotine cravings.
      47.    The representations set forth in Paragraph 46 are false or misleading
or were not substantiated at the time the representations were made.
      48.    Therefore, the making of the representations as set forth in
Paragraph 46 constitutes a deceptive act or practice with respect to a substance
use disorder treatment product in violation of Section 8023(a) of OARFPA,

15 U.S.C. § 45d(a).


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              Count IV: Deceptive Testimonials With Respect to a
                      Substance Use Disorder Treatment Product

      49.    In numerous instances in connection with the advertising,
marketing, promotion, offering for sale, or sale of Smoke Away, including
through the means described in Paragraphs 21, 24–25, Defendants have
represented, directly or indirectly, expressly or by implication, that the persons
depicted in the video testimonials that appear on Defendants’ websites and on
YouTube—including the persons identified as Julia, Deborah, and Andrew—are

bona fide Smoke Away users who have successfully used Smoke Away to quit
smoking.
      50.    In truth and in fact, at least some of the persons who appear in these
videos—including the persons identified as Julia, Deborah, and Andrew—are
actors whom Defendants recruited and paid for their on‐screen appearances, and
who did not use Smoke Away to quit smoking as represented in the videos.

      51.    Therefore, the making of the representations as set forth in
Paragraph 49 constitutes a deceptive act or practice with respect to a substance
use disorder treatment product in violation of Section 8023(a) of OARFPA,

15 U.S.C. § 45d(a).
                                 CONSUMER INJURY
      52.    Consumers are suffering, have suffered, and will continue to suffer

substantial injury as a result of Defendants’ violations of the FTC Act and
OARFPA. Absent injunctive relief by this Court, Defendants are likely to
continue to injure consumers and harm the public interest.




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                               PRAYER FOR RELIEF
      Wherefore, Plaintiff requests that the Court:
      A.    Enter a permanent injunction to prevent future violations of the FTC
Act and OARFPA by Defendants;
      B.    Award Plaintiff monetary civil penalties from Defendants for each
violation of OARFPA alleged in this Complaint;
      C.    Award monetary and other relief within the Court’s power to grant;
and

      D.    Award any additional relief as the Court determines to be just and
proper.




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 Respectfully submitted,

 Dated: June 29, 2023                 For the UNITED STATES OF AMERICA


                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney
                                      General, Civil Division
                                      ARUN G. RAO
                                      Deputy Assistant Attorney General,
                                      Civil Division
                                      AMANDA N. LISKAMM
                                      Director, Consumer Protection Branch
                                      GABRIEL H. SCANNAPIECO
                                      Assistant Director, Consumer
                                      Protection Branch



                                      /s/ Mary M. Englehart
                                      MARY M. ENGLEHART
                                      Senior Trial Attorney
                                      Consumer Protection Branch
                                      U.S. Department of Justice
                                      P.O. Box 386
                                      Washington, DC 20044‐0386
                                      Telephone: 202‐307‐0088
                                      Fax: 202‐514‐8742
                                      Email: Megan.Englehart@usdoj.gov




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                                      For the FEDERAL TRADE COMMISSION

                                      /s/ Serena Viswanathan
                                      SERENA VISWANATHAN
                                      Associate Director
                                      RICHARD A. QUARESIMA
                                      Assistant Director
                                      RAFAEL REYNERI
                                      SHIRA D. MODELL
                                      Attorneys
                                      Federal Trade Commission
                                      600 Pennsylvania Ave., NW
                                      Washington, DC 20580
                                      Telephone: (202) 326‐3026
                                      Fax: (202) 326‐3259
                                      Email: rreyneri@ftc.gov
                                      Email: smodell@ftc.gov


                                      Attorneys for Plaintiff




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                          CERTIFICATE OF SERVICE

      I certify that on June 29, 2023, I caused a true and correct copy of the

above‐entitled Joint Motion for Entry of Stipulated Order to be served by

electronic mail to counsel for Defendants as follows:


Alexandra Megaris
Venable LLP
1270 Avenue of the Americas, Floor 25
New York, NY 10020
Telephone: (212) 370‐6210
Email: amegaris@venable.com



                                              /s/ Mary M. Englehart
                                              MARY M. ENGLEHART
                                              Senior Trial Attorney
                                              Consumer Protection Branch
                                              U.S. Department of Justice
                                              P.O. Box 386
                                              Washington, DC 20044‐0386
                                              Telephone: 202‐307‐0088
                                              Fax: 202‐514‐8742
                                              Email: Megan.Englehart@usdoj.gov




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